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                                               February 17, 2022
VIA ECF
Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)

Dear Judge Netburn:

       The SEC respectfully submits this motion for partial reconsideration and clarification of the

Court’s January 13, 2022 order (D.E. 413, the “Order”). This motion is limited to the Court’s ruling

with respect to Entry 9 of Appendix A to Defendants’ motion to compel (D.E. 289), which includes

a single, clean draft of a June 14, 2018 speech (“Speech”) delivered by Bill Hinman, the then-

Director of the SEC’s Division of Corporation Finance (“Corp Fin”). After reviewing Entry 9, the

Court found that “emails concerning the [S]peech or draft versions are neither predecisional nor

deliberative agency documents entitled to protection” under the deliberative process privilege

(“DPP”), and ordered the SEC to produce Entry 9 and other documents “previously withheld based

on the privilege that would be inconsistent with this order.” Order at 15, 22.

       Reconsideration of this aspect of the Court’s decision is warranted because the Court based

its decision on a single document relating to the Speech—one that Defendants chose to highlight for

the Court—and did not consider the 67 other emails attaching drafts of the Speech that were before

the Court on Defendants’ motion. These additional documents—along with other matters available

to the Court and described below—demonstrate that the Speech was not “merely peripheral to

actual policy formation” and was in fact an “essential link in the SEC’s deliberative process with

respect to Ether.” See Order at 14–15 (internal quotation marks omitted). The Speech itself—and

the many drafts and comments by SEC staff across different SEC divisions and offices deliberating
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the agency’s approach to the regulation of digital assets—show that Director Hinman and other

SEC staff used the Speech to provide public guidance as to how Corp Fin would apply the federal

securities laws to offers and sales of digital assets including Ether. Indeed, SEC regulations provide

that Director Hinman’s public statements could be relied upon as representing the views of Corp

Fin, the division he led.

        When viewed in context, Entry 9 and other drafts and communications related to the Speech

are protected by the DPP under the Court’s own analysis: They reflect the very types of

deliberations that SEC staff “need to be able to conduct . . . with the expectation of candor” (id. at

22) and are no different than other documents the Court has already held to be protected (id. at 15–

17). The SEC thus respectfully asks the Court to reconsider its prior ruling with respect to Entry 9

and to find that all such documents are protected by the DPP. In the alternative, the SEC asks the

Court to clarify whether the Order compels production of all Speech drafts and related emails on the

SEC’s privilege logs—the vast majority of which reflect the views of staff other than Director

Hinman on an important policy issue confronting multiple agency divisions and offices.

I.      Procedural Background

        As part of their motion, Defendants submitted the SEC’s privilege logs (D.E. 289-1–289-6),

as well as a list of documents they selected, “Appendix A” (D.E. 289-11), and asked the Court to

review in camera these documents (D.E. 289 at 7), which the Court agreed to do (D.E. 351-1 (Aug.

31, 2021 Hearing Tr.) at 35–36). Though the SEC’s privilege logs included 68 entries described as

emails attaching drafts of the Speech (D.E. 289-1, 289-2, 289-4), Defendants included only one of

those drafts—Entry 9—on their Appendix A.

        In its brief explaining the basis for the application of the DPP to each of the 30 documents

submitted for in camera review, the SEC explained that Entry 9 was “predecisional and deliberative,

as Director Hinman was seeking feedback from other SEC personnel about the [S]peech’s contents

prior to its delivery” (D.E. 351 at 13), and thus reflected “[d]eliberations re: regulation of Ether and


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re: Hinman Speech” (id. at A-4). The SEC also noted it had logged “dozens of []drafts of the Hinman

Speech.” Id. at 14 n.11 (emphasis added). The SEC urged the Court to refrain from ordering the

production of “similar” documents in the event the Court found that any of the documents in

Appendix A were not protected by the DPP, and to instead conduct a document-by-document

review of the relevant documents on the SEC’s privilege logs. Id. at 20.

        The Court found that “it appears that this speech was merely peripheral to actual policy

formation” and “not an essential link in the SEC’s deliberative process with respect to Ether.”

Order at 14–15 (internal quotation marks omitted). The Court relied on the disclaimer in the

Speech; Director Hinman’s declaration (D.E. 255-2 ¶ 13) stating that the Speech reflected his own

views; and evidence that the SEC has not taken any position on “whether offers and sales of Ether

constituted offers and sales of securities.” Order at 14.

II.     Legal Standard

       Courts grant motions for reconsideration when “the moving party can point to controlling

decisions or data that the court overlooked—matters, in other words, that might reasonably be

expected to alter the conclusion reached by the court.” Homeward Residential, Inc. v. Sand Canyon Corp.,

No. 12 Civ. 5067, 2014 WL 4680849, at *1 (S.D.N.Y. Sept. 17, 2014) (Torres, J.) (granting motion

for reconsideration) (quoting Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)).

III.    All Communications and Drafts Relating to the Speech Are Protected by the DPP

       The SEC respectfully submits that, in ruling on Entry 9, the Court did not consider two

significant matters. First, Director Hinman made the Speech in order to communicate Corp Fin’s

approach on the regulation of digital asset offerings, as evidenced by the text of the Speech and

confirmed by the relevant regulations governing SEC employees’ public statements. Second, the

Speech was the end product of significant collaboration by many staffers across the agency, as

evidenced by the 68 drafts and related commentary reflected in the SEC’s privilege logs. These

communications demonstrate that the SEC staff’s deliberations about the contents of the Speech


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were an essential link in the agency’s deliberations about “whether transactions in a particular digital

asset involve the sale of a security.” Ex. A at 4.

        Through these communications, SEC staff were deliberating about what guidance they

should provide to market participants—guidance staff should be able to develop through

discussions “without fearing that their communications will be subject to public scrutiny.” Order at

20. Indeed, “[g]iven the importance in having the SEC ‘get it right’ on the highly consequential

decisions of how (or whether) to regulate digital assets, the need to promote candor to improve

agency decisionmaking is critical.” Id. at 22. The release of the dozens of drafts of the Speech—the

vast majority of which reflect opinions and thoughts of staff other than Director Hinman—would

result in the very chilling of agency deliberations the Court sought to avoid in its Order.

         A.       Director Hinman Delivered the Speech as the Director of Corp Fin to
                  Communicate Corp Fin’s Framework for Evaluating Digital Asset Offerings.

         As reflected in its text, the Speech was intended to communicate the general approach used

by Corp Fin in evaluating whether digital asset offerings may be considered securities offerings, and

to invite the market to communicate with Corp Fin staff about these issues.1 Director Hinman

began the Speech by noting that the conference “provide[d] a great opportunity to address a topic

that is the subject of considerable debate in the press and in the crypto-community – whether a

digital asset offered as a security can, over time, become something other than a security.” Ex. A at

1. In addressing that topic, Director Hinman stated that he was providing a framework of “some of

the factors to consider in assessing whether a digital asset is offered as an investment contract and is

thus a security,” and that Corp Fin staff were “happy to help promoters and their counsel work

through these issues” and “stand prepared to provide more formal interpretive or no-action

guidance about the proper characterization of a digital asset in a proposed use.” Id. at 4.



1  Approximately one year before the Speech, Corp Fin and the Division of Enforcement (“Enforcement”) issued a
statement on the Report of Investigation on the DAO, which similarly encouraged market participants employing new
technologies to contact SEC staff “for assistance in analyzing the application of the federal securities laws.” Ex. C.


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        The text of the Speech makes clear that Director Hinman was speaking as the Director of

Corp Fin to provide information about what private parties could expect when seeking formal or

informal guidance from the staff of the division he led, on a topic (the regulation of the offer and

sale of digital assets) within his division’s purview. In his deposition, Director Hinman confirmed

that the Speech was “intended to share more generally the framework that the division [of

corporation finance] was using in thinking about these assets.” Ex. B at Tr. 299; see also Tr. 131

(Speech intended to “inform the marketplace of how . . . the division of corporation finance and I

felt about these topics”). He further confirmed that, following the Speech, Corp Fin generally

applied the framework outlined in the Speech when considering whether digital asset transactions

involved “securities.” Ex. B at Tr. 301 (D.E. 299-1).

        The relationship between the Speech and SEC staff guidance is further demonstrated by the

April 2019 publication of a “Framework for ‘Investment Contract’ Analysis of Digital Assets”

(“Framework”) by the SEC’s Strategic Hub for Innovation and Financial Technology. Ex D. Citing

the Speech, the Framework provided “additional guidance in the areas that the Commission or staff

has previously addressed.” Id. at 7 n.1. The Framework reiterated many factors relevant to the

investment contract analysis that were set forth in the Speech, including the relative centralization of

the project, the retention of a stake in the digital asset by the promoter, and the development status

of the digital asset’s network. Id. The Framework elaborated on the Speech by adding specific

details regarding each of the cited factors.

       The inclusion of the SEC’s standard disclaimer in the Speech does not change the privilege

analysis. Any speech or publication by an SEC employee must include the following disclaimer:

        The Securities and Exchange Commission disclaims responsibility for any private
        publication or statement of any SEC employee or Commissioner. This [article,
        outline, speech, chapter] expresses the author’s views and does not necessarily reflect
        those of the Commission, the [other] Commissioners, or [other] members of the staff.




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17 C.F.R. § 200.735-4. The Framework included the same disclaimer.2 Ex. D at 7 n.1.

         The purpose of this disclaimer is to communicate that the employee delivering remarks is

not speaking on behalf of the SEC itself, as the views of one SEC employee cannot bind the agency.

And when a division director is speaking, the disclaimer reminds the audience that those views may

or may not be shared by other divisions or offices. Still, it remains true that a statement by an SEC

division director communicates that director’s views and those of the division he or she leads:

         The informal procedures of the Commission are largely concerned with the rendering
         of advice and assistance by the Commission’s staff to members of the public dealing
         with the Commission. While opinions expressed by members of the staff do not
         constitute an official expression of the Commission’s views, they represent the views
         of persons who are continuously working with the provisions of the statute involved.
         And any statement by the director, associate director, assistant director, chief accountant,
         chief counsel, or chief financial analyst of a division can be relied upon as representing the views
         of that division.

17 C.F.R. § 202.1(d) (emphasis added).3

         Accordingly, the inclusion of the SEC’s standard disclaimer (or Director Hinman’s

declaration explaining the disclaimer (D.E. 255-2 ¶ 13)) cannot somehow change the analysis with

respect to whether the DPP applies to the internal communications and drafts leading up to the

Speech. Instead, those materials reflect the same type of internal policy debates as the deliberations

relating to public statements by SEC officials that the Court has already deemed to be protected by

the DPP—Entries 11 to 14 of Appendix A. Order at 15–16.4



2The SEC respectfully refers the Court to speeches and remarks posted on its website by the Chair, Commissioners, and
senior officials, which include the standard disclaimer, see https://www.sec.gov/news/speeches-statements, including
speeches related to the regulation of digital asset offerings, Ex. E. This standard disclaimer is similar to disclaimers
provided by staff and officials at numerous other federal government agencies, including the Commodity Futures
Trading Commission, the Federal Trade Commission, the Federal Reserve, and the PCAOB. Ex. F.
3 Defendants claim that the SEC “has argued in this litigation that Mr. Hinman’s speech did not provide any meaningful
guidance to the marketplace.” D.E. 363 at 14–15. Defendants do not, and indeed cannot, cite to anything to support
that statement. To the contrary, Director Hinman testified that the Speech provided “timely guidance” to the
marketplace on digital asset transactions. Ex. B at Tr. 80–82.
4While the final version of Director Hinman’s remarks reflected in Entry 11 is not publicly available, Director Hinman
was required to provide the standard disclaimer as part of those remarks. A recording of Chair Clayton’s November 27,
2018 interview—draft talking points for which are reflected in Entries 12 to 14—includes the standard disclaimer. See
https://www.blockchainbeach.com/sec-chairman-jay-clayton-speaks-on-icos-and-bitcoin-etf/.



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         B.       Staff Across the Agency Engaged in Substantive Deliberations About the
                  Content of the Speech, Which Were an Essential Link in the Agency’s
                  Deliberations about the Regulation of Digital Asset Offerings.

         The dozens of drafts of the Speech exchanged among SEC staff show that the Speech

related to SEC policy and particularly to what guidance SEC staff believed could be communicated

to market participants about “whether transactions in a particular digital asset involve the sale of a

security.” Ex. A at 4. In early May 2018, David Fredrickson, then-Corp Fin’s Chief Counsel, began

drafting what ultimately became the Speech. (Draft 1.)5 For the next month, Mr. Fredrickson, along

with Valerie Szczepanik (Assistant Director in Enforcement’s Cyber Unit until June 9, 2018, and

then Senior Advisor for Digital Assets and Innovation in Corp Fin), Michael Seaman (then-Director

Hinman’s counsel), and Director Hinman worked to draft the Speech, exchanging at least 23 drafts

between May 3 and June 4. (Drafts 1–23; Hardy Decl. ¶ 3.)

         On June 4, Director Hinman circulated a draft of the Speech to officials outside his

division— including counsel for the then-Chair, as well as the directors of other divisions and

offices, requesting comments. (Draft 24; Hardy Decl. ¶¶ 4, 8–10.) On June 5, this email was

forwarded to the Chair—see Entry 9. (Draft 28.) In the ensuing days, officials across the SEC

provided substantive feedback and comments on the draft: the Division of Trading & Markets

(“TM”) on June 6; the Division of Investment Management (“IM”) on June 7; and the Office of the

General Counsel (“OGC”) on June 8. (Drafts 29, 33, 35; Hardy Decl. ¶ 5.) Director Hinman, Mr.

Fredrickson, and Mr. Seaman worked to revise the Speech to respond to these comments. This

revision process led to eight additional drafts between June 7 and June 11. (Drafts 31, 36, 37, 39, 40,

42–44; Hardy Decl. ¶ 6.) On June 11, Director Hinman circulated a revised draft to many of the

same officials who had received Entry 9. (Draft 45; Hardy Decl. ¶ 7.) On June 12, officials from



5References to “Draft __” correspond to entries in Attachment 1 to the brief, which summarizes the full set of relevant
emails and drafts included on the SEC’s privilege logs. References to “Hardy Decl.” are to the accompanying
Declaration of Melinda Hardy, dated February 17, 2022. Ex. G.



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                exercise. Rather, such communications can be delicate and audience-
                sensitive and require the agency to exercise . . . policy-oriented
                judgment to effectively pursue its policymaking agenda.

        Moreover, while it is true that the SEC has not expressed a formal agency position on

whether offers and sales of Ether constitute offers and sales of securities (Order at 14), the withheld

documents reflect deliberations about what to communicate to market participants about Corp Fin’s

approach to the regulation of offers and sales of digital assets including Ether. Indeed, the

deliberations here are like deliberations in Additional Document 3, which the Court held to be

protected by the DPP because they “plainly reflect SEC employees’ predecisional thoughts and

analyses . . . including deliberations on whether the asset at issue is subject to the federal securities

laws—a quintessential agency decision.” Order at 17 (rejecting Defendants’ argument that the DPP

could not apply “because no-action letters are issued by Corporation Finance, not the Commission

itself, so there is no agency decision or decisionmaking process to support the assertion of

privilege”).

        Finally, piercing the DPP is unwarranted here for the reasons the Court outlined in the

Order, namely because “the need to promote candor to improve agency decisionmaking is critical”

given “the importance in having the SEC ‘get it right’ on the highly consequential decisions of how

(or whether) to regulate digital assets.” Id. at 22. The many drafts and comments the SEC is

withholding reflect that the SEC staff was trying to “get it right” on what kind of guidance from

Corp Fin could then be released to market participants, while preserving the agency’s ability to

regulate digital assets under the securities laws—an important and evolving issue for many of the

SEC’s divisions and offices. On the other hand, the documents are not relevant to the “fair notice”

defense (Order at 18) or to the Individual Defendants’ scienter because only the final Speech—and

not the dozens of drafts that include preliminary thoughts, suggestions, and discussion points by

staff, often provided under time pressure without the opportunity to be fully vetted—could have

provided notice to Defendants or impacted their state of mind.


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                                                Respectfully submitted,

                                                /s Ladan F. Stewart
                                                Ladan F. Stewart

cc: Counsel for All Defendants (via ECF)




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                                                 ATTACHMENT 1
             SUMMARY CHART OF ENTRIES ON SEC PRIVILEGE LOGS RELATING TO HINMAN SPEECH



Draft i   Document        Date     Draft/Comments                              Description
          Submitted                      By ii
          In Camera

  1                    5/3/2018    Fredrickson      Email from Fredrickson to Hinman, Seaman, cc Ingram, Starr,
                                                    attaching thoughts on issues to be addressed in Speech.

  2          A         5/21/2018   Fredrickson      Email from Fredrickson to Seaman, attaching “first, rough
                                                    draft” of Speech.

  3                    5/22/2018   Hinman           Email from Hinman to Fredrickson, Seaman, attaching comments
                                                    on Fredrickson’s May 21 draft.

  4                    5/24/2018   Fredrickson      Email from Fredrickson to Szczepanik, cc Seaman, attaching draft
                                                    Speech.

  5          B         5/25/2018   Szczepanik       Email from Szczepanik to Fredrickson, cc Seaman, attaching
                                                    comments on Fredrickson’s May 24 draft.

  6                    5/25/2018   Fredrickson      Email from Fredrickson to Seaman, cc Szczepanik, attaching draft
                                                    Speech.

  7                    5/29/2018   Seaman           Email from Seaman to Fredrickson, attaching comments on
                                                    Fredrickson’s May 25 draft.

  8                    5/29/2018   Fredrickson      Email from Fredrickson to Hinman, cc Szczepanik, Seaman,
                                                    attaching draft of Speech.




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9         5/29/2018   Szczepanik      Email from Szczepanik to Fredrickson, Hinman, cc Seaman,
                                      attaching comments on Fredrickson’s May 29 draft.

10   C    5/30/2018   Hinman          Email from Hinman to Fredrickson, Szczepanik, Seaman,
                                      attaching comments on Fredrickson’s May 29 draft.

11        5/31/2018   Fredrickson     Email from Fredrickson to Szczepanik, Seaman, attaching comments
                                      on top of Hinman’s May 30 comments.

12        5/31/2018   Szczepanik      Email from Szczepanik to Fredrickson, Seaman, attaching comments
                                      on top of Fredrickson’s May 31 comments.

13        5/31/2018   Seaman          Email from Seaman to Ingram, Starr, cc Hinman, attaching draft
                                      Speech.

14        5/31/2018   Hinman          Email from Hinman to Fredrickson, cc Seaman, Ingram, Starr,
                                      attaching additional comments on top of Szczepanik’s May 31
                                      comments.

15        6/1/2018    Hinman          Email from Hinman to Seaman, attaching additional comments on
                                      top of Hinman’s May 31 comments.

16        6/1/2018    Seaman          Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching
                                      new draft of Speech and redline.

17        6/1/2018    Hinman          Email from Hinman to Seaman, Fredrickson, Szczepanik, attaching
                                      comments on Seaman’s June 1 draft.

18        6/3/2018    Szczepanik      Email from Szczepanik to Hinman, Seaman, Fredrickson, attaching
                                      comments on top of Hinman’s June 1 comments.

19        6/4/2018    Fredrickson     Email from Fredrickson to Szczepanik, Hinman, Seaman, attaching
                                      comments on top of Szczepanik’s June 3 comments.



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20               6/4/2018   Seaman           Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching
                                             new draft of Speech and redline.

21               6/4/2018   Seaman           Email from Seaman to Fredrickson, attaching draft Speech and
                                             distribution list for other divisions/offices.

22               6/4/2018   Fredrickson      Email from Fredrickson to Seaman, attaching comments on
                                             Seaman’s June 4 draft and on distribution list for other
                                             divisions/offices.

23               6/4/2018   Seaman           Email from Seaman to Hinman, cc Fredrickson, attaching draft
                                             Speech along with distribution list for other divisions/offices.

24               6/4/2018   Hinman           Email from Hinman to: Moskowitz, Memon, Fox (Office of the
                                             Chair); Avakian, Peikin, Karp (Enforcement); Stebbins, Jarsulic,
                                             Morris (OGC); Blass, McHugh, Bartels (IM); Redfearn, Goldsholle,
                                             Seidel (TM), attaching draft Speech and requesting comments.

25*              6/4/2018                    Email from Seaman to Corp Fin staff (Parratt, Ingram, Starr,
                                             Henseler, Long, Hardiman), cc Hinman, attaching June 4 draft
                                             circulated to other divisions/offices by Hinman.

26*              6/4/2018                    Email from Fredrickson to Ingram, forwarding Hinman’s June 4
                                             email to divisions/offices.

27*              6/5/2018                    Email from Seaman to Corp Fin staff (Davis, Garrison), forwarding
                                             Hinman’s June 4 email to divisions/offices.

28*   Entry 9    6/5/2018                    Email from Memon (Office of Chair) to Chair Clayton, cc
                                             Moskowitz (Office of Chair), forwarding Hinman’s June 4
                                             email to divisions/offices.

29      D        6/6/2018   Greiner          Email from Greiner (TM) to Fredrickson, Szczepanik, Seaman,
                                             cc Redfearn (TM Director) and TM staff (Seidel, Goldsholle,

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                                       Maitra, Bergoffen, Orr), attaching TM’s comments on June 4
                                       draft.

30*        6/7/2018                    Email from Seaman to Hinman, forwarding TM’s comments on June
                                       4 draft.

31         6/7/2018    Fredrickson     Email from Fredrickson to Szczepanik, Seaman, attaching comments
                                       in response to TM’s June 7 comments.

32         6/7/2018    McHugh          Email from McHugh to Fredrickson, cc Szczepanik, Seaman,
                                       McGinnis (IM), Bartels (IM), attaching IM’s comments on June 4
                                       draft.

33    E    6/7/2018    McHugh          Email from McHugh to Fredrickson, cc Szczepanik, Seaman,
                                       McGinnis (IM), Bartels (IM), attaching amended set of IM’s
                                       comments on June 4 draft.

34*        6/8/2018                    Email from Seaman to Hinman, forwarding IM’s comments on June
                                       4 draft.

35    F    6/8/2018    Jarsulic        Email from Jarsulic (OGC) to Seaman, Lisitza, Cappoli (OGC),
                                       cc Hinman, Fredrickson, Szczepanik, attaching OGC’s
                                       comments on June 4 draft.

36    G    6/8/2018    Fredrickson     Email from Fredrickson to Hinman, Szczepanik, Seaman,
                                       attaching revised draft incorporating comments from OGC,
                                       TM, and IM.

37    H    6/11/2018   Hinman          Email from Hinman to Szczepanik, Seaman, Fredrickson,
                                       attaching comments on Fredrickson’s June 8 draft.

38*        6/11/2018                   Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching
                                       Hinman’s June 11 comments.



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39     6/11/2018   Fredrickson     Email from Fredrickson to Szczepanik, Seaman, attaching comments
                                   on top of Hinman’s June 11 comments.

40     6/11/2018   Hinman          Email from Hinman to Fredrickson, Seaman, attaching additional
                                   comments on top of Fredrickson’s June 11 comments.

41*    6/11/2018                   Email from Fredrickson to Seaman, attaching redline of Hinman’s
                                   two sets of June 11 comments.

42     6/11/2018   Szczepanik      Email from Szczepanik to Seaman, attaching comments on top of
                                   Hinman’s second set of June 11 comments.

43     6/11/2018   Seaman          Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching
                                   new draft of Speech and redline.

44     6/11/2018   Seaman          Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching a
                                   second new draft of Speech and redline.

45     6/11/2018   Hinman          Email from Hinman to: Moskowitz, Memon, Fox (Office of the
                                   Chair); Avakian, Peikin, Karp (Enforcement); Stebbins, Jarsulic,
                                   Lisitza, Morris (OGC); Blass, McHugh, Bartels (IM); Redfearn,
                                   Goldsholle, Seidel, Greiner (TM), attaching draft Speech and
                                   requesting comments.

46*    6/11/2018                   Email from Fredrickson to Ingram, forwarding Hinman’s June 11
                                   email to divisions/offices.

47     6/11/2018   Fredrickson     Email from Fredrickson to Seaman, attaching comments on June 11
                                   draft.

48*    6/12/2018                   Email from Seaman to Corp Fin staff (Parratt, Davis, Brightwell,
                                   Garrison), attaching June 11 draft circulated to other
                                   divisions/offices by Hinman.


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49         6/12/2018   Redfearn        Email from Redfearn (TM Director) to Hinman, Seaman, cc TM
                                       staff (Goldsholle, Seidel, Bergoffen), attaching TM’s comments on
                                       June 11 draft.

50         6/12/2018   Fredrickson     Email from Fredrickson to Seaman, attaching additional comments
                                       on top of Fredrickson’s June 11 comments.

51*        6/12/2018                   Email from Seaman to Fredrickson, Szczepanik, forwarding TM’s
                                       June 12 comments.

52         6/12/2018   McHugh          Email from McHugh (IM) to Seaman, cc Fredrickson and IM staff
                                       (Bartels, Hunter-Ceci, Haghshenas, Harke, McGinnis), attaching
                                       IM’s comments on June 11 draft.

53         6/12/2018   Hinman          Email from Hinman to Seaman, attaching revised draft addressing
                                       comments by TM and IM.

54         6/12/2018   Seaman          Email from Seaman to Fredrickson, attaching revised draft and
                                       redline.

55*        6/12/2018                   Email from Seaman to Fredrickson, resending Seaman’s June 12
                                       revised draft and redline.

56         6/12/2018   Fredrickson     Email from Fredrickson to Seaman, attaching comments on
                                       Seaman’s June 12 draft.

57    I    6/12/2018   Seaman          Email from Seaman to Hinman, Fredrickson, Szczepanik,
                                       attaching revised draft and redline.

58    J    6/12/2018   Jarsulic        Email from Szczepanik to Seaman, Fredrickson, Hinman,
                                       forwarding June 12, 2018 email from Jarsulic (OGC) to
                                       Szczepanik, attaching OGC’s comments on June 11 draft.

59         6/13/2018   Fredrickson     Email from Fredrickson to Seaman, attaching revised draft.

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     60                      6/13/2018      Seaman                 Email from Seaman to Fredrickson, attaching revised draft and
                                                                   redline.

     61                      6/13/2018      Fredrickson            Email from Fredrickson to Seaman, attaching revised draft.

     62                      6/13/2018      Seaman                 Email from Seaman to Hinman, Fredrickson, Szczepanik, attaching
                                                                   revised draft.

     63                      6/13/2018      Fredrickson            Email from Fredrickson to Seaman, Hinman, Szczepanik, attaching
                                                                   revised draft.

     64                      6/13/2018      Fredrickson            Email from Fredrickson to Seaman, attaching revised draft.



i
    Four of the 68 relevant entries on the SEC’s privilege logs were duplicative. Attachment 1 includes the 64 non-duplicative documents
reflected on the SEC’s privilege logs.
    An asterisk (*) signifies Drafts that are not unique, but rather are forwards or re-attachments of other, unique drafts. For this reason,
the 12 entries where Drafts are marked with an asterisk do not have an entry in the “Drafts/Comments By” column. In total, there are 52
unique drafts reflected in Attachment 1.
ii
     The titles in May/June 2018 of certain of the individuals listed in Attachment 1 are as follows:
     1. Bill Hinman: Director, Corp Fin
     2. David Fredrickson: Chief Counsel, Corp Fin
     3. Valerie Szczepanik: Assistant Director in Enforcement’s Cyber Unit until June 9, 2018, and then Senior Advisor for Digital Assets
         and Innovation and Associate Director in Corp Fin
     4. Michael Seaman: Counsel to Director Hinman, Corp Fin
     5. Amy Starr: Chief, Office of Capital Market Trends, Corp Fin
     6. Jonathan Ingram: Deputy Chief Counsel, Corp Fin
     7. Laura Jarsulic: Associate General Counsel, OGC
     8. Brett Redfearn: Director, TM
     9. Natasha Greiner: Assistant Chief Counsel, TM
     10. Jennifer McHugh: Senior Special Counsel, IM


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